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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS


GABRIEL GARCIA,


                 Plaintiff,         No. 24-cv-11106-DLC

                        v.

21st CENTURY TECHNOLOGIES
GROUP, LLC, AND BRIAN
SWAIN,

                 Defendants.


      ORDER ON DEFENDANTS’ MOTION TO DISMISS OR TRANSFER VENUE

Cabell, U.S.M.J.

      Gabriel Garcia has brought an action against Brian Swain and

his   company,   21st    Century   Technologies,     LLC,      for    allegedly

breaching a written agreement to provide Garcia with 25 vending

machines in Massachusetts. The complaint asserts claims for breach

of contract, negligence, fraudulent misrepresentation, consumer

protection law violations, and violation of Federal Rule 16 C.F.R.

Part 37.    (D. 1).

      The defendants move to dismiss the complaint for lack of

personal jurisdiction, and move alternatively to either transfer

the case to the U.S. District Court for the District of Nevada, or

dismiss a number of the plaintiff’s claims on the merits.               (D. 6).

The plaintiff opposes and argues that the case should proceed here.

For   the   reasons   explained    below,    the   court      finds   it     most
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appropriate to dismiss the complaint, without prejudice, on forum

non conveniens grounds.

     To begin, there is no dispute that the lawsuit arises from

the defendants’ alleged breach of an agreement between the parties.

Notably, that agreement contains a clause providing, among other

things, that venue for any disputes arising out of the agreement

“shall be in the Eighth Judicial District Court of Clark County,

Nevada or in such other venue as the parties agree in writing.”

(D. 6 at 1).   There is also no dispute that the parties have not

identified any other acceptable venue for litigation aside from

Nevada’s Eighth Judicial District.          The doctrine of forum non

conveniens is the proper way to enforce a mandatory forum selection

clause instructing that litigation should take place in another

state or foreign forum.       See Atlantic Marine Const. Co. v. U.S.

Dist. Ct. for Western Dist. of Tex., 571 U.S. 49 (2013); see also

Claudio-De Leon v. Sistema Universitario Ana G. Mendez, 77 F.3d

41, 46 (1st Cir. 2014) (“[M]andatory forum selection clauses

contain clear language indicating that jurisdiction and venue are

appropriate exclusively in the designated forum.”).                Save for

exceptional cases where public interest factors overwhelmingly

disfavor enforcement, valid forum selection clauses are considered

controlling.   Atlantic Marine, 571 U.S. at 63-64.



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      When a forum selection clause provides for venue in another

federal forum or district, the appropriate way to effectuate the

parties’ selection is to order a transfer of the case through 28

U.S.C. § 1404(a).      28 U.S.C. § 1404(a) (“For the convenience of

parties and witnesses, in the interest of justice, a district court

may transfer any civil action to any other district or division

where it might have been brought or to any district or division to

which all parties have consented.”; see also Atlantic Marine, 571

U.S. at 60 (“Section 1404(a) is merely a codification of the

doctrine of forum non conveniens for the subset of cases in which

the transferee forum is within the federal court system; in such

cases, Congress has replaced the traditional remedy of outright

dismissal with transfer.”).

      However, where, as here, the forum selection clause points to

a state forum, which a federal district court has no authority

under 28 U.S.C. § 1404(a) to transfer a federal case to, a federal

court may enforce the forum selection clause by treating the motion

to transfer as a motion to dismiss, and dismissing the case

pursuant to the doctrine of forum non conveniens. Atlantic Marine,

571 U.S. at 60-61.    A federal court must enforce the clause unless

the   party   opposing   its   enforcement    can    “clearly     show      that

enforcement would be unreasonable and unjust, or that the clause



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was invalid for such reasons as fraud or overreaching.” M/S Bremen

v. Zapata Off-Shore Co., 407 U.S. 1, 15 (1972).

     In this regard, the plaintiff asserts that the forum selection

clause should be found invalid because the defendants fraudulently

induced him to enter into the agreement by representing themselves

as “21st Century Technologies, LLC” instead of “21st Century

Technologies Group, LLC”.     (D. 10 at 8-9).      However, the plaintiff

avers no facts to suggest or show that the “the clause’s inclusion

in the contract was the product of fraud,” or explain how the

omission of the word “Group” from the defendant’s name somehow

reasonably induced him to enter into an agreement he otherwise

would have declined to enter.      See Huffington v. T.C. Grp., LLC,

637 F.3d 18, 24 (1st Cir. 2011).        The court thus finds no basis to

suspect the inclusion of the forum selection clause in the parties’

agreement was the product of fraud or that the plaintiff was

otherwise induced to enter the agreement through fraud.

     Accordingly, where the underlying agreement contains a valid

and mandatory forum selection clause calling for any disputes under

the agreement to be heard in a specific Nevada state court, which

the court lacks authority to effectuate, the only way to enforce

the clause is to dismiss the case on the grounds of forum non

conveniens.   Atlantic Marine, 571 U.S. at 62, 66 n.8 (“Unlike a §

1404(a) motion, a successful motion under forum non conveniens

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requires dismissal of the case.”); Rivera v. Kress Stores of Puerto

Rico, Inc., 30 F.4th 98, 101 (1st Cir. 2022) (“Where, as here, a

forum-selection clause is alleged to require reference to a state

or foreign forum, the appropriate way for a federal court to

enforce     it   is   through      a   motion    to      dismiss     for    forum     non

conveniens.”).

      It bears noting that a dismissal without prejudice should not

adversely affect the plaintiff’s ability to seek redress as he

appears to still be within the limitations period with respect to

his claims.        Further, a dismissal also eliminates the need to

consider    uncertain       issues     regarding    this     court’s       exercise    of

personal and/or subject matter jurisdiction.                   See Sinochem Intern.

Co. Ltd. v. Malaysia Intern. Shipping Corp., 549 U.S. 422, 431-32

(2007) (“A district court therefore may dispose of an action by a

forum non conveniens dismissal, bypassing questions of subject-

matter     and    personal      jurisdiction,         when      considerations        of

convenience, fairness, and judicial economy so warrant”).

      ACCORDINGLY, Defendants’ Motion to Dismiss or Transfer Venue

(D.   6)   is    ALLOWED;    the     complaint     and   its    claims     are   hereby

DISMISSED WITHOUT PREJUDICE.

So Ordered.                                   /s/ Donald L. Cabell
                                              DONALD L. CABELL, U.S.M.J.

DATED:     April 7, 2025


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